Case 1:17-cV-00920-W.]-SCY Document 1-1 Filed 09/08/17 Page 1 of 32
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STEPHEN T. PACHECO
Victoria l\/|artinez

 

4-205 . Summons.
[F or use with District Court Civil Rule 1-004 NMRA]

 

SUMMONS
ON
AMENDED COMPLAINT

 

District Court: FIRST JUDICIAL
Santa Fe County, New Mexico
Court Address: 225 Montezuma Ave.

Santa Fe, NM 87501
Court Telephone No.: (505) 455-8250

Case No.: D-101-CV-2017-02182
Judge: David K. Thompson

 

 

Defendant
Plainfiff($) Name: sEAleE PARTNERS, LLC
K-M- SKELLY, INC- Address: c/o James M. Yates, Jr.,
v. Registered Agent
Defendant(s): 4101 Lake Boone Trail, Suite 300
sEASIDE PARTNERS, LLC Ral@igh, NC 27607-7545

 

 

 

TO THE ABOVE NAMED DEFENDANT(S): Take notice that

1. A lawsuit has been filed against you. A copy of the lawsuit is attached. The
Court issued this Summons.

2. You must respond to this lawsuit in writing You must file your written response
With the Court no later than thirty (30) days from the date you are served with this
Summons. (The date you are considered served with the Summons is determined by
Rule 1-004 NMRA) The Court’s address is listed above.

3. You must file (in person or by mail) your written response with the Court. When
you file your response, you must give or mail a copy to the person who signed the
lawsuit.

4. If you do not respond in writing, the Court may enter judgment against you as

' requested in the lawsuit.

5. You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial,
you must request one in writing and pay a jury fee.

6. If you need an interpreter, you must ask for one in writing.

7. You may wish to consult a lawyer. You may contact the State Bar of New
Mexico for help finding a lawyer at www.nmbar.org; l-800-876~6657; or l-505-797-
6066.

Dated at First Judicial District Court, Santa Fe County, New Mexico, this QB_ day of

MQL, 2017.

Case 1:17-cV-0092O-W.]-SCY Document 1-1 Filed 09/08/17 Page 2 of 32

 

CLERK OF COURT

Stephen T. Pacheco

 

Attorneys for Plaintiff,
K.M. SKELLY, INC.

MM

Mark L. Ish, Esq.

FELKER, ISH, RITCHIE & GEER, P.A.
Address: 911 Old Pecos Trail

 

 

.‘ »_ v - Santa Fe, NM 87505
Telephone NO.; (505)988-4483
' Fax NO.: (505)983-4876

§ EmailAddress: markish@felkerishlaw.com

 

 

 

   

"`Q.»"PURSUANT To RULE 1-004 oF THE NEw

MEXICo RULEs oF FOR DISTRICT COURTS.

  
 

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Case 1:17-cV-0092O-W.]-SCY Document 1-1 Filed 09/08/17 Page 3 of 32

RETURN 1
STATE OF )
)ss
COUNTY OF )

I, being duly sworn, on cath, state that I am over the age of eighteen (18) years and
not a party to this lawsuit, and that I served this summons in county on
the day of , , by delivering a copy of this summons, with a
copy of complaint attached, in the following manner:

(check one box and fill in appropriate blanks)

[ ] to the defendant (used when defendant accepts a copy of
summons and complaint or refuses to accept the summons and complaint)

[ ] to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA
(used when service is by mail or commercial courier service).

After attempting to serve the summons and complaint on the defendant by personal
service or by mail or commercial courier service, by delivering a copy of this summons,
with a copy of complaint attached, in the following manner:

[ ]' to , a person over fifteen (15) years of age and
residing at the usual place of abode of defendant , (used when the
defendant is not presently at place of abode) and by mailing by first class mail to the
defendant at (insert defendant's last known mailing address) a
copy of the summons and complaint.

 

 

[ ] to , the person apparently in charge at the actual place
of business or employment of` the defendant and by mailing by first class mail to the
defendant at (insert defendants business address) and by

 

mailing the summons and complaint by first class mail to the defendant at
(insert defendant’s last known mailing address).

[ ] to , an agent authorized to receive service of process
for defendant

 

 

[] to , [parent] [guardian] [custodian] [conservator] [guardian
ad litem] of defendant (used when defendant is a minor or an
incompetent person).

Case 1:17-cV-0092O-W.]-SCY Document 1-1 Filed 09/08/17 Page 4 of 32

[ ] to (name ofperson),
(title of person authorized to receive service Use this alternative when the defendant is a
corporation or an association subject to a suit under a common name a land grant board
of trustees, the State of New Mexico or any political subdivision).

 

Fees:

 

 

Signature of person making service

 

Title (ifany)

Subscribed and sworn to before me this day of , . 2

 

Judge, notary or other officer
authorized to administer oaths

 

Official title

USE NOTE

l. Unless otherwise ordered by the court, this return is not to be filed with the court
prior to service of the summons and complaint on the defendant

2. If service is made by the sheriff or a deputy sheriff of a New Mexico county, the
signature of the sheriff or deputy sheriff need not be notarized.

[Adopted effective August l, 1988; as amended by Supreme Court Order 05-8300-01,
effective March l, 2005 ; by Supreme Court Order 07-8300-16, effective August l, 2007;
by Supreme Court Order No. 12-8300-026, effective for all cases filed or pending on or
after January 7, 2013.]

Case 1:17-cV-0092O-W.]-SCY Document 1-1 Filed 09/08/17 Page 5 of 32!LED |N MY OFF|CE

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STATE OF NEW MEXICO

COUNTY OF SANTA FE

FIRST JUDICIAL DISTRICT COURT
K.M. SKELLY, INC.,

Plaintiff,
v. , Case No.: D-lOl-CV-2017-02182

SEASIDE PARTNERS, LLC,

Defendant.

AMENDED COMPLAINT TO FORECLOSE LIEN AND FOR BREACH OF CONTRACT

COMES NOW Plaintiff`, K.M. Skelly, Inc. (hereinaf`ter “Skelly”), by and through its
attorneys, Felker, Ish, Ritchie & Geer, P.A. (Mark L. Ish, William D. Winter and Bryan M.
Rowland), and for its Amended Complaint against Defendant, Seaside Partners, LLC (“Seaside”)
states as follows:

l. Plaintiff is a New Mexico corporation with its principal place of business in Santa
Fe, New Mexico. Plaintiff is a general contractor, with a GB 98, number 384120, and at all
times material hereto was properly licensed to perform work as a general contractor.

2. Defendant, Seaside, is, upon information and belief is a North Carolina limited
liability company with its principal place of business in Palm Beach, Florida. Upon information
and belief, Seaside is a single member limited liability company, whose only member is Roxanne
Quimby, who lists her address in Palm Beach, Florida.

3. This court has jurisdiction of the parties and the subject matter.

4. Venue is proper in the First Judicial District Court, County of Santa Fe, State of
New Mexico. The property, the subject of this Complaint and lien foreclosure action is located

in Santa Fe County, New Mexico.

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5. Plaintiff and Defendant entered into two (2) contracts in New Mexico relating to
the construction of a large residence located in Santa Fe, New Mexico. Copies of the contracts
are attached hereto, marked as Exhibits l and 2, and incorporated by reference.

6. At all times material hereto, Defendant hired and retained a construction manager
to advise it and its managing member, Roxanne Quimby, with respect to the work which was
progressing on the project, the expenditures which were being made, the nature of the contractual
obligations which it was undertaking, and with respect to changes, additions, and deletions to the
scope of work. The construction manager retained by Defendant is an individual by the name of
Walter Abernathy.

7. At all times material hereto, Defendant retained the services of an architect to
prepare the plans and specifications, and to make pertinent changes, additions, or
recommendations with respect to the construction. The architect retained by Defendant was an
individual by the name of Trey Jordan.

8. At all times material hereto, Defendant retained the services of a structural
engineer to evaluate work on the project, to examine the plans and specifications, and to make
structural recommendations to the architect, construction manager, and to provide guidance to
Plaintiff, as the general contractor. The engineer retained by Defendant was Eric Trujillo.

9. Construction was commenced on the project pursuant to the terms of the
agreement dated October 8, 2014 which is attached hereto as Exhibit l. Construction was halted
on the project for a period of time until the work described under the terms of Exhibit 2 was
agreed upon and that contract was executed. At all times material hereto, Defendant had legal
counsel at its disposal to review the terms of Exhibits l and 2 and had the advice and consult of

Walter Abernathy, its construction manager.

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10. On a periodic basis, Plaintiff provided a detailed and informative report reflecting
expenditures, work undertaken, and costs for labor, materials, and the work of subcontractors
pursuant to the terms of Exhibits l and 2. These regular reports, which included items invoiced
to the Defendant, were received by Defendant and its construction manager.

ll. Up until approximately November, 2016, Defendant paid the invoices. There
were substantial changes, modifications, and deletions with respect to the scope of the work, and
there were certain additions to the work undertaken which were negotiated between Plaintiff and
Defendant or its construction manager, were approved by it or by its construction manager, and
are evidenced by written change orders, emails, or invoices reflecting the decisions made by the
Plaintiff in the field which had been authorized by Defendant.

12. On or about December 18, 2016, Defendant unilaterally terminated the contract
and instructed Plaintiff to remove its equipment, employees and subcontractors from the project.
Plaintiff complied with the request. At that time, Defendant was indebted to Plaintiff for
materials 'and labor furnished or purchased for use on the project under the terms of the
construction contract (Exhibits l and 2) in the sum of $92,831.15. A copy of the invoice dated
April 5, 2017 reflecting the sums due Plaintiff for these items as of the date of termination, and
reflecting all just credits and offsets to which Defendant is entitled, is attached hereto, marked as
Exhibit 3, and incorporated by reference. Despite demand upon it to do so, Defendant has
willfully refused to pay all or any portion of Exhibit 3.

13. At Defendant's request, Plaintiff met with Defendant’s construction manager,
engineer, a contractor ostensibly selected by Defendant to complete the project in an effort to
make the transition seamless. The project engineer, Eric Trujillo issued a report, in an effort to

determine what, if any, items needed to be addressed at that stage of construction. Plaintiff has,

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at all times material hereto, offered to address, or to obtain the assistance of its subcontractors in
addressing any claims of alleged incomplete, defective or unknown workmanlike performance

14. Defendant has refused to permit Plaintiff to perform any additional work on the
project or to address any of the matters which Defendant now claims to constitute incomplete,
defective, or un-workmanlike performance Plaintiff has fully and completely performed or
attempted in good faith to perform or address with its subcontractors its obligations under the
terms of the contracts (Exhibits l and 2).

CoUNT I
BREACH oF CoNTRACT

15. Plaintiff realleges and incorporates by reference the allegations contained within
paragraphs l through 14 as though fully set forth herein.

16. Under the terms of the construction agreements (Exhibits l and 2), Plaintiff is
entitled to compensation for all labor and materials incorporated in, delivered to, or purchased by
it for the project for which Plaintiff has not been paid or reimbursed

17. Under the terms of Exhibits l and 2, Plaintiff is also entitled to additional
compensation for its anticipated overhead and profit in an amount reflecting 22% of the
anticipated cost to complete the construction project, Plaintiff has made demand for 22% of
what it reasonably believes the cost to complete the project will be and payment has been
refused. Defendant has refused to provide a detailed breakdown of the costs to complete the
project as of the date of filing this Complaint.

18. Subsequent to termination of Plaintiff‘s contract and the exclusion of Plaintiff and
its subcontractors from the project, Defendant engaged experts to review the contracts, plans,
Specifications, and the work in place with the primary intention of developing a list of alleged

defects or deficiencies against which the sums lawfully due Plaintiff could be deducted or offset.
4

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These items are, by and large, inconsequential and de minimus in nature and value, or were the
subject of change orders, amendments to the scope of the work, or reflect reasonable decisions
made by Plaintiff in the field with the concurrence and approval of Defendant and its
construction manager. In addition, Defendant has refused Plaintiff’s offer and attempts to
address or correct any work which may need attention, and has refused Plaintiff access to the
project except for the limited inspections associated with this litigation, and has thwarted
Plaintiff’s efforts to meet its contractual obligations

19. Defendant has willfully, maliciously, and in bad faith breached the agreements
relating to the construction of this project, including the implied covenants of good faith and fair
dealing.

20. Plaintiff is owed $279,990.32 for services and materials incorporated into or
supplied to the project and for overhead and profit on account of Defendant’s termination of its
performance under the contracts. Defendant has refused to pay all or any portion of the sum.
As a consequence thereof, Plaintiff has been required to borrow money to fund its business at
higher than market rates of interest, and has incurred other damages as a foreseeable
consequence of Defendant’s breach of contract. Plaintiff has been required to retain attorneys to
collect the sum owed and to defend against Defendant’s spurious claims and allegations

21. Plaintiff is entitled to recover compensatory damages against Defendant resulting
from its breach of contract, together with prejudgment interest, attorneys’ fees, and costs as
allowed by law.

22. Given the malicious,.intentional, knowing, and bad faith breach of contract by

Defendant, Plaintiff is entitled to recover punitive damages from Defendant.

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CoUNT II
FoRECLosURE oF LIEN

23. Plaintiff realleges and incorporates by reference the allegations contained within
paragraphs l through 22, as though fully set forth herein.

24. The construction project is not substantially complete and the project has not
received a certificate of occupancy.

25. On the 2lst day of April, 2017, Plaintiff filed its Lien reflecting the sums to which
it believed it was entitled as of that date pursuant to New Mexico's Mechanics Lien Law. A
copy of the Lien is attached hereto, marked as Exhibit 4 and incorporated by reference.

26. Exhibit 4 is properly verified and it contains the information required by law.

27. Plaintiff is entitled to foreclosure of its Lien against the property and from the sale
of the property to recover all sums lawfully due it for labor and materials that have been
supplied, for its overhead and profit upon Defendant’s termination of the contract, and such other
damages as Plaintiff has sustained.

28. Plaintiff is entitled to recover its attorneys’ fees, prejudgment interest, costs, and
related foreclosure expenses as allowed by law.

WHEREFORE, Plaintiff requests judgment against Defendant for compensatory
damages, punitive damages, prejudgment interest, attorneys’ fees, costs, for foreclosure of its
Lien in the manner provided by law, for the appointment of a special master to sell the property
at a public auction as permitted by law, for the sale proceeds to pay Plaintiff such sums as are

justly due it, and for such other and further relief as to the court is just and proper.

Case 1:17-cV-0092O-W.]-SCY Document 1-1 Filed 09/08/17 Page 11 of 32

Respectfully submitted,
FELKER, IsH, RITCHIE & GEER, P.A.

BY¢ /S_/AMW_
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Bryan M. Rowland, Esq.
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(505) 988-4483
markish@felkerishlaw.com

williamwinter2003@yahoo.com
bmr@felkerishlaw.com

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AMENDMENT l T()
AGREEMENT BETWEEN SEASIDE PARTNERS, LLC, ROXANNE QUIMBY
“Owner”, AND K.M. SKELLY, INC., KEVIN M. SKELLY “Contractor”

This First Amendrnent to Agreement between the Owner and Contractor (°‘Arnendment”)
is dated effective as of the date fully executed by both parties ("Effective Date"), and is entered
into by and between Seaside Partners, LLC. “Owner”, and K.M. Sl<elly, lnc. “Contractor".

Owner and Contractor now desire to amend the terms of the Agreement_ as more
particularly set forth below:

l. Section l, Contract Worl<. of the Agreement is hereby amended and restated in its
entirety and shall hereafter be and read as fol.lows;

Con,tract Work. Contractor agrees to perform the Work as drawn by Trey .lordan
A.rchitects, in phases, as blueprints become available At the time of this Amendment,
Contractor is working under the most recent blueprints dated M arch 3, 2015, Set Three (3),
Revision One (l). Construction will progress for the entire length of the “Proj ect” on a “Cost
Plus” basis as described in Amended Schedule “B"’; all of which are referred to below as the
“Specitications.” The Work to be performed by Contractor is called the “Work” and the overall
project contemplated by this Agreement is called the “Proj ect.” The Work shall be performed in
accordance with the Specifications, as ainended, in the manner specified below.

2. Section 3. Contract Cost. of the Agreement is hereby amended and restated in its entirety
and shall hereafter be and read as foll.ows:

Contract Cost. Owner agrees to pay Contractor its actual cost of construction plus 1.2%
Overhead and 10% Gross Profit calculated upon the total cost of construction, except with
respect to Contractor’s fee for supervision as set forth below, plus applicable New Mexico gross
receipts tax (calculated at time of invoicing), for Contrac`tor’s complete performance of the
Work, in accordance with the terms stated in Schedule B. Other than the amounts set forth
above, plus the amounts set forth in any chan ge orders, plus the applicable gross receipts tax
payable on the compensation paid to Contractor, all costs and other fees, if any, to be paid in
connection with the work shall be paid by Contractor. Contractor"s supervision fee is in addition
to the construction costs, but Will not be subject to the overhead and gross profit percentages
Contractor’s supervision fee is $100.()0 per hour and is charged while Contractor is supervising
on Site or otherwise conducting business for Seaside Partners. Contractor’s supervision hours
Will be documented by Way of the electronic time keeping procedure in place on the site or by
timesheets maintained by Contractor both of which will be submitted with invoices to Owner.
Contractor’s proposed budget includes an estimated supervision fee of 3100,000 based
upon completion of the project within 12 months of the start date. Contractor agrees that
the supervision fee shall not exceed S120,000, unless Owner’s changes to the Work and/or
other conduct by Owner delays completion of the Work to the point that Contractor’s
documented supervision fee exceeds 8120,000. In such event, Owner shall pay Contractor’s
supervision fee in excess of 8120,000 based upon the billing rate and procedure set forth
above. Invoices shall be submitted by Contractor to Owner as the Worl<_ progresses, on a bi-

EXhibitZ l gmi x

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weekly basis (every other week). invoices shall state the amount due for the unpaid Worl<
performed since the last invoice and deposits for the upcoming stage. Payment will be made by
the Owner within five business (5) days after the submission of each invoice. lf payment of an
invoice submitted to OWner is not paid within five (5) business days, Contractor will
provide Owner with written notice of the default and Owner will have ten (10) days from
the date of the notice to make the payment If payment is not received within ten (10) days
of date of the Written notice., Contractor may terminate the contract ln such event Owner
shall pay Contractor all sums required as though this Con`tract were terminated by Owner
pursuant to Paragraph 15. Contractor will not be required to perform further Work on the
Pro j ect during the ten (10) day period. An exemplar invoice is attached to this contract as
Exhibit l.

3. Schedule A of the Agreement is hereby amended and restated in its entirety and shall

______.__-_7-

hereafter be and read as follows:

The work to be performed is: Construct a new home and related yard walls
ALL DRAWINGS AND ATTACHEMENTS TO BE SIGNED OR ll‘~lll`lALED
SCHEDULE “A”

REVI.SE.D BLUEPRINTS by Trey lordan Architects
Dated: March 3, 2015.
Set 3, Revision l.

4. Schedule B, Fixed Price Iter@ of the Agreement is hereby amended and restated in its
entirety and shall hereafter be and read as follows:

- Cost Plus. Owner will pay a “Cost Plus” amount consisting of all actual
construction costs plus 12% Overhead and 10% Gross Profrt (plus gross
receipts tax assessed at the time of invoicing) to Contractor for complete
performance of the Work. Contractor will use due diligence in receiving bids
from multiple sources whenever possible for each stage of the Proj ect to ensure
the best pricing and quality for the value All bids will be submitted to Owner’s
Agent for review and approval All invoices, lien waivers, time sheets and misc.
entries pertaining to the construction of the home at 1380 'l`esuque Creel< Road
will be delivered to Owner upon invoicing

Contractor shall seek approval of Owner’s Agent for purchases exceeding 31000,
excluding day to day supplies required by Contractor to perform W`ork.

Invoices shall be submitted by Contractor to Owner as the Worl< progresses, on a bi-
Weekly basis (every other weel<). invoices shall state the amount due for the unpaid Work
performed since the last invoice and deposits for the upcoming stage Payment will be made by
the Owner within five business (5) days after the submission of each invoice

 

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5. The following paragraph is hereby added to the Agreement:

Section 18.6. Owner’s Agent. Owner has appointed Walter Abernathy, Agent, to act as
her agent with respect to the completion of the work required pursuant to the terms of the
Contract. Contractor can contact Agent by cell phone at 415-624-6988, or by email at
Walter.abernathy@gmail.corn. Agent is authorized by Owner to meet and/or confer with
Contractor, with or without Owner being present, and to make all decisions relative to the
completion of the work contemplated by the terms of the Contract, including without limitati`on,
changes to the work or to the project that require execution of a written change order, until such
time as Owner notifies Contractor, in writing, that Agent is no longer authorized to act as her
agent. Contractor shall keep Owner informed of any changes_, reconnnendations, delays, or other
matters regarding the work which are discussed with or presented to Agent. Contractor shall

send all notices contemplated by paragraph l.6 of the Agreement to Agent.
6. The following amendments are hereby made to the Agreement:

Section 10, Insurance; paragraph 10.4, The cost to procure Builder’s Risk
Insurance policy shall not be subject to Contractor’s 12% 0verhead and 10% Gross Prot"it.

'7. Section 14, Dispute Resolutiom of the Agreemcnt is hereby amended and restated to
reference Article 13.2.

8. Schedule Cz of the Agreement is hereby amended and restated in its entirety and
shall hereafter bc and read as follows:

Event:

Application for Santa Fe County Permit: Completed by Trey Jordan Architects.
Extcnsions to be obtained by K.M. Skelly,
Inc. as needed.

Re-commencernent of Work: At the earliest date subcontractors are
avail.able; approximately 15 days from
execution of Amendment I.

Completio'n of Work: Approximately 12 months from Re-
commencement date based on 3 / 03 / 15
drawingsx

  
 

Note I: Each Change Order shall specify the cxtent, if any, to which it will affect
Completion date of the Project.

 

 

 

 

 

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Note II: there are incomplete finishes and details on the blue prints that need to be
validated by Walter Abernathy, and SSP. Responses and specifications could affect
the completion date. Per OWner's request, we expect the'point of termination _by
K. M. Skelly, Inc. to coincide with the successful completion of CID inspection for
weatherization and air intiltration. This inspection Will grant Owner approval for
wall coverings, at which point OWner will complete the final construction of the
home.

lN WITNESS WHEREOF, the parties have executed this Agreement as of the day and
year set forth.

Seaside Partners, LLC

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K.M. Skelly, lnc, a New Mexico
Corporation

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1380 Tesuque Creek Rd

Santa Fe, NM 87501

Date Description Balance Amount

 

 

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Exhibit 3

 

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CLAIMOFLIEN
THE UNDER_SIGNED, K.M. Skelly Inc., (Contractor or Claimant) GB license number

384120, whose address is 10 Calle Cantando, Santa Fe, NM 87508, being a corporation duly
licensed to provide general contracting services within the State of New Mexico makes the
following claim of lien:

l. The owner(s) of the property to which this lien applies are Roxanne Quimby
and/or Seaside Partners, LLC. The property to which this lien applies is located in Santa Fe
County, New Mexico. The common address at which the work Was performed and the materials
were supplied is 1380 Tesuque Creek R.d., Santa Fe, NM 87501 (the premises) more

particularly described as:

Lot ll, of Tesuque Creek Subdivision as shown and delineated on
the “Subdivision/Lot Line Adjustment Plat of Tesuque Creek
Subdivision & Santa Fe Summit Phases 4, 5 & 6, a portion of Tract
39, Sections 4, 5, 8 & 9, T17N. RlOE, N.M.P.M., Santa Fe
County, New Mexico” by Paul A. Rodriquez, N.M.P.S. No 13839
on August 6, 2002, filed September 27, 2002 as Document No.
1225,75], and recorded in Plat Book 513, Pages 1 thru 6, and filed
October 15, 2002 as Document No. 1228, 348 and recorded in Plat
Book 514, Page 37-39, in the records of Santa Fe County, New
Mexico

2. Lien Claimant provided labor, services, equipment and/or materials With respect
to construction of your home, but not limited to, excavation, and related materials and labor on
the project. Claimant provided the materials and labor pursuant to a certain construction
agreements between Claimant and owner dated October 9, 2014 (original) and the amendment to
the originals dated September 9, 2015,0wner owes Contractor the sum of two hundred seventy
nine thousand, nine hundred ninety and thirty-two cents. ($279,990.32) together with interest at
l the rate of 12% APR on balances thirty (30) days past due, or as may otherwise be allowed by
law. The amount due to the date of filing this claim of lien is accurately reflected on the
statement attached hereto and marked as Exhibit "l ".

3. The materials and labor furnished and acquired for use have been fully
incorporated into the construction on the property described herein. Claimant provided a Notice

of its intention to file lien, and has made demand upon the owner for payment and payment has

Exhibit 4

 

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not been made. Claimant asserts its lien in the amount of $279,990.32 plus interest, attorneys’
fees, filing fees, and all other legal expenses incurred or to be incurred, including any incurred in
the foreclosure of` its lien as allowed by law. Contractor states that its lien is timely made and
tiled, and that all materials and services Were provided to the job site and incorporated in the
residence by K.M. Skelly, Inc.

4. At the time of making said claim, less than one hundred twenty (120) days had
elapsed since the close of substantial completion To date, a certificate of occupancy has not
been issued.

5. All just credits and offsets have been made and are reflected in Claimant's

summary invoice, Exhibit "l".

  

  

j'-rrvllii\/I Skelly, Pres` ~.
K M. Skelly, lnc.-

VERIFLQM

STATE OF NEW MEXICO )
)ss.
COUNTY OF SANTA FE )

The undersigned, Kevin M. Skelly, President of K.M. Skelly, Inc., having first been duly

sworn and upon oath states as follows:

l. I am President of K.M. Skelly, Inc., a New Mexico corporation

2. K.M. Skelly, Inc. is a licensed contractor operating under GB-98 License No.
3 84 120.

3. l have personal knowledge and information concerning the labor, equipment, and

materials supplied to the owner on the property and of the other matters stated
herein.
4. I have read the foregoing Ciaim of Lien and the statements and information

contained herein is true and correct.

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K. M. Skelly, Inci~

guaranties ana sworn 1aveteranstai_s,;?¢;l"‘diy edwile 2017 by Kevin M. skelly.

   

My commission expires:

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- _' AngeliqueJ.Angel
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ACKNOWLEDGMENT_ FOR CORPORATION

STATE OF NEW MEXICO )
)ss.
COUNTY OF SANTA FE )

gwm, 2017, before me personally appeared Kevin M. Skelly, to me

 

personally known, President of K. M. Skelly Inc., a corporation organized under the laws of the
State of New Mexico, who executed the foregoing on behalf of the corporation by authority of its
board of` directors. Kevin M. Skelly acknowledged said instrument to be the free act and deed of
said corporation

Witness my hand and seal on this the day and year first above Written.

app . _” ______ .................. z

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My commission expires:

  

 

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Case 1:17-cV-0092O-W.]-SCY Document 1-1

 

Commants
Date Descrlptlon
Ba|ance Forward

12/12/16 lnvoice #6016

01103/17 invoice #6037

04/05I17 invoice #6066

D4I05/17 invoice #8067

04/05/17 Credit Memo #6068

1-30 Days ' 31¢60 Days
Current Past Due Paet Due
187.158.78

Rem|ttanee
Statemer\t it 100
Daie
Amount Due
Amount Enclosed

171ank you for your businessl

Filed 09/08/17 Page 30 of 32

Date: April 5. 2017
STATEMENT # 100

Biii To Seaside Partners, LLC
1380 Tesuque Creek Rd
Santa Fe. NM 67501

Baiance Amount
9.458.73
37.854157
45,51 8. 24
3608.50
221 .406.88
-37.856.60

Ovor 90 Days
Past Due Amount Due

92,831.54 279.990.32

 

 

 

 

 

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STEPHEN T. PACHECO

STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDIClAL DISTRICT COURT

K.M. SKELLY, lNC.,

Plaintiff,

SEASIDE PARTNERS’ LLC, Case assigned to Thomson, David K.

Defendant,

SIX PERSON JURY DEMAND
COMES NOW Plaintiff, K.M. Skelly, Inc. by and through its attorneys, Felker, Ish,
Ritchie & Geer, P.A. (Mark L. Ish, William D. Winter and Bryan M. Rowland), and demands a

jury of six persons on all issues triable by jury, pursuant to Rule l-038 NMRA. Plaintiff

submits its jury demand fee herewith.

Respectf`ully submitted,
FELKER, IsH, RITCHIE & GEER, P.A.

By: /s/Mark L. Ish
Mark L. Ish, Esq.
William D. Winter, Esq.
Bryan M. Rowland, Esq.
911 Old Pecos Trail
Santa Fe, NM 87505
(505) 988-4483
markish@felkerishlaw.com
WilliamwinterZOO?>@vahoo.com
b“m;@felkerishlaw.com

Jorge |\/|ontes

